            Case 1:18-cv-00336-RC Document 7 Filed 06/12/18 Page 1 of 2




                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

ROQUE DE LA FUENTE, AND                            :
ROCKY 2016 LLC                                     :
                                                   :
       Plaintiffs,                                 :       Civil Action No.:      18-0336 (RC)
                                                   :
       v.                                          :
                                                   :
DNC SERVICES CORPORATION, AND                      :
DEBORAH WASSERMAN SCHULTZ                          :
                                                   :
       Defendants.                                 :

                                              ORDER

       On June 11, 2018, Defendants filed a Motion to Dismiss Mr. De La Fuente’s complaint.

See ECF No. 6. Under Local Civil Rule 7(b), if any party fails to file a response to a motion

within the time prescribed by the Federal Rules of Civil Procedure and the Local Civil Rules,

“the Court may treat the motion as conceded.” Id. In Fox v. Strickland, the D.C. Circuit held

that a district court must take pains to advise a pro se party of the consequences of failing to

respond to a dispositive motion. 837 F.2d 507 (D.C. Cir. 1988) (per curiam); see also Neal v.

Kelly, 963 F.2d 453, 456 (D.C. Cir. 1992). “That notice . . . should include an explanation that

the failure to respond . . . may result in the district court granting the motion and dismissing the

case.” Fox, 837 F.2d at 509.

       The Court hereby advises Mr. De La Fuente, a pro se party, of his obligations under the

Federal Rules of Civil Procedure and the Local Civil Rules. If Mr. De La Fuente fails to submit

a memorandum responding to Defendants’ Motion to Dismiss within 30 days, the Court may

treat the motion as conceded, grant the motion, and dismiss his case. If Mr. De La Fuente

complies with his obligations under the Federal and Local Rules, he is advised that when the
           Case 1:18-cv-00336-RC Document 7 Filed 06/12/18 Page 2 of 2




Court rules on Defendants’ motion, it will take into consideration the facts proffered by Mr. De

La Fuente in the complaint, along with his response to Defendants’ motion.

       Accordingly, it is hereby ORDERED that Mr. De La Fuente shall respond to

Defendants’ Motion to Dismiss on or before July 12, 2018. If Mr. De La Fuente neither

responds nor moves for an extension of time by that date, the Court may treat the motion as

conceded and dismiss his complaint.

       SO ORDERED.


Dated: June 12, 2018                                             RUDOLPH CONTRERAS
                                                                 United States District Judge




                                                2
